                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Asheville Division


UNITED STATES OF AMERICA                               )
                                                       )
       v.                                              )       1:07cr106
                                                       )
JAMES OTIS HENDERSON                                   )


                                              ORDER

       The matter is before the Court on a petition filed by Janet Leigh Henderson asserting an

interest in certain real property ordered to be forfeited to the United States in the Third Preliminary

Order of Forfeiture dated April 7, 2009.

       For good cause,

       It is hereby ORDERED that the government is DIRECTED to file a response to the instant

petition by 5:00 p.m., Thursday, May 28, 2009.

       The Clerk is directed to send a copy of this Order to petitioner and all counsel of record.




                                                                   /s/
                                                       _______________________
May 14, 2009                                           T. S. Ellis, III
Alexandria, VA                                         United States District Judge




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